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                             UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF MICHIGAN
                                                        CRIMINAL MINUTE SHEET
USA v.       PABLO RAZO FIERRO                                                            Mag. Judge: Phillip J. Green

    CASE NUMBER                       DATE                  TIME (begin/end)             PLACE                  INTERPRETER


    1:12-cr-98 (RHB)             August 31, 2015            10:09 - 10:49 AM           Grand Rapids              Ellen Donohue


APPEARANCES:
Government:                                                Defendant:                                     Counsel Designation:
Nils Kessler                                               Britt Cobb                                     Retained


          OFFENSE LEVEL                                   CHARGING DOCUMENT/COUNTS                           CHARGING DOCUMENT
                                                                                                          Read
Felony                                       Indictment                                                   Reading Waived

             TYPE OF HEARING                                        DOCUMENTS                              CHANGE OF PLEA

    First Appearance                                    Defendant's Rights                       Guilty Plea to Count(s)    1
    Arraignment:                                        Waiver of                                of the Indictment
          mute              nolo contendre          ✔   Consent to Mag. Judge for Plea
                            guilty                                                               Count(s) to be dismissed at sentencing:
          not guilty
                                                        Other:                                   Remaining
    Initial Pretrial Conference
                                                                                                 Presentence Report:
    Detention          (waived    )                                                                   ✔ Ordered      Waived
    Preliminary    (waived        )                 Court to Issue:                                   Plea Accepted by the Court
    Rule 5 Proceeding                               ✔ Report & Recommendation
                                                                                                      No Written Plea Agreement
    Revocation/SRV/PV                                  Order of Detention
                                                       Order to file IPTC Statements
    Bond Violation                                                                                     EXPEDITED RESOLUTION
                                                       Bindover Order
✔   Change of Plea                                     Order Appointing Counsel                       Case appears appropriate for
    Sentencing                                         Other:                                         expedited resolution
    Other:

                        ADDITIONAL INFORMATION                                                     SENTENCING
                                                                             Imprisonment:
                                                                             Probation:
                                                                             Supervised Release:
                                                                             Fine: $
                                                                             Restitution: $
                                                                             Special Assessment: $
                                                                             Plea Agreement Accepted:             Yes    No
                                                                             Defendant informed of right to appeal:         Yes      No
                                                                             Counsel informed of obligation to file appeal:  Yes     No


                  CUSTODY/RELEASE STATUS                                                  BOND AMOUNT AND TYPE

Remanded to USM                                                         $

CASE TO BE:            Referred to District Judge                       TYPE OF HEARING: Sentencing

Reporter/Recorder:           Digitally Recorded                         Courtroom Deputy:             D. Hand
